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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

CARLA GARRETT
2513 Bianci Avenue
Fort Meade, MD 20755

individually and on behalf of all others similarly situated,          Case No.
                                          Plaintiff,




       -v.-
MONTEREY FINANCIAL SERVICES
4095 Avenida De La Plata
Oceanside, CA 92056

And John Does 1-25,

                                       Defendants.

                                CLASS ACTION COMPLAINT
                               AND DEMAND FOR JURY TRIAL

       Plaintiff Carla Garrett (hereinafter, “Plaintiff” or “Garrett”), a Maryland resident, brings

this Class Action Complaint by and through her attorneys, Meridian Law, LLC, against Defendant

Monterey Financial Services (hereinafter “Defendant” or “Monterey”), individually and on behalf

of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil

Procedure, based upon information and belief of Plaintiff’s counsel, except for allegations

specifically pertaining to Plaintiff, which are based upon Plaintiff's personal knowledge.

                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the FDCPA in 1977 in response to the "abundant evidence of the

   use of abusive, deceptive, and unfair debt collection practices by many debt collectors." 15

   U.S.C. §1692(a). At that time, Congress was concerned that "abusive debt collection practices

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contribute to the number of personal bankruptcies, to material instability, to the loss of jobs,

and to invasions of individual privacy." Id. Congress concluded that "existing laws…[we]re

inadequate to protect consumers," and that "'the effective collection of debts" does not require

"misrepresentation or other abusive debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." ld. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate~ id § l692(b),

Congress gave consumers a private cause of action against debt collectors who fail to comply

with the Act. Id. § 1692k.

                               JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331, as

well as 15 U.S.C. § 1692 et. seq. The Court also has pendent jurisdiction over the State law

claims in this action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                                  NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of Maryland consumers under

§ 1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory and injunctive relief.

                                           PARTIES

   7.      Plaintiff is a resident of the State of Maryland, County of Anne Arundel, residing at
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2513 Bianci Avenue, Fort Meade, MD 20755.

   8.       Defendant Monterey Financial Services is a "debt collector" as the phrase is

defined in 15 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 4095 Avenida De

La Plata, Oceanside, CA 92056.

   9.       Upon information and belief, Defendant is a company that uses the mail, telephone,

and facsimile and regularly engages in business the principal purpose of which is to attempt to

collect debts alleged to be due another.

   10.      Defendant is a "debt collector", as defined under the FDCPA under 15 U.S.C. §

1692a(6).

   11.      John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery

and should be made parties to this action.

                                     CLASS ALLEGATIONS

   12.      Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   13.      The Class consists of:

            a. all individuals with addresses in the State of Maryland;

            b. to whom Monterey Financial Services sent a collection letter attempting to

               collect a consumer debt;

            c. regarding collection of a debt;

            d. that offered settlement of the debt in less than 30 days from the date of the

               letter, while threating the balance will be increasing, and overshadowing the

               Plaintiff’s rights under the “G-Notice”;
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            e. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.

   14.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   15.      Excluded from the Plaintiff Classes are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   16.      There are questions of law and fact common to the Plaintiff Classes, which

common issues predominate over any issues involving only individual class members. The

principal issue is whether the Defendants' written communications to consumers, in the forms

attached as Exhibits A, violate 15 U.S.C. §§ l692e, 1692g and 1692f.

   17.      The Plaintiffs' claims are typical of the class members, as all are based upon the

same facts and legal theories. The Plaintiffs will fairly and adequately protect the interests of

the Plaintiff Classes defined in this complaint. The Plaintiffs have retained counsel with

experience in handling consumer lawsuits, complex legal issues, and class actions, and neither

the Plaintiffs nor their attorneys have any interests, which might cause them not to vigorously

pursue this action.

   18.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:
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   a. Numerosity: The Plaintiffs are informed and believe, and on that basis allege,

      that the Plaintiff Classes defined above are so numerous that joinder of all

      members would be impractical.

   b. Common Questions Predominate: Common questions of law and fact exist as

      to all members of the Plaintiff Classes and those questions predominance over

      any questions or issues involving only individual class members. The principal

      issue is whether the Defendants' written communications to consumers, in the

      forms attached as Exhibit A violate 15 § l692e and §1692f and § 1692g.

   c. Typicality: The Plaintiff’s claims are typical of the claims of the class

      members. The Plaintiffs and all members of the Plaintiff Classes have claims

      arising out of the Defendants' common uniform course of conduct complained

      of herein.

   d. Adequacy: The Plaintiffs will fairly and adequately protect the interests of the

      class members insofar as Plaintiffs have no interests that are adverse to the

      absent class members. The Plaintiffs are committed to vigorously litigating this

      matter. Plaintiffs have also retained counsel experienced in handling consumer

      lawsuits, complex legal issues, and class actions. Neither the Plaintiffs nor their

      counsel have any interests which might cause them not to vigorously pursue the

      instant class action lawsuit.

   e. Superiority: A class action is superior to the other available means for the fair

      and efficient adjudication of this controversy because individual joinder of all

      members would be impracticable. Class action treatment will permit a large

      number of similarly situated persons to prosecute their common claims in a
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               single forum efficiently and without unnecessary duplication of effort and

               expense that individual actions would engender.

   19.      Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff

Classes predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   20.      Depending on the outcome of further investigation and discovery, Plaintiffs may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                   FACTUAL ALLEGATIONS

   21.      Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   22.      Some time prior to February 3, 2017, an obligation was allegedly incurred to Just

Military Loans.

   23.      The Just Military Loans obligation arose out of a transaction involving a Just

Military Loan the proceeds of which Plaintiff used to purchase items primarily for personal,

family or household purposes.

   24.      The alleged Just Military Loans obligation is a "debt" as defined by 15 U.S.C.§

1692a(5).

   25.      Just Military Loans is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

   26.      Just Military Loans or a subsequent alleged owner of the Just Military Loans debt

contracted the Defendant to collect the alleged debt.
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   27.      Defendant collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.

                           Violation I – February 3, 2017 Collection Letter

   28.      On or about March 3, 2017, Defendant sent the Plaintiff a collection letter (the

“Letter”) regarding the alleged debt owed to Just Military Loans. See February 3, 2017

Collection Letter – Attached hereto as Exhibit A.

   29.      The collection letter offers Plaintiff discounted settlement options if she makes

payment within three (3) days, specifically by February 6, 2017.

   30.      When a debt collector solicits payment from a consumer, it must, within five days

of an initial communication, provide the consumer with a written validation notice which must

include the following information:

         (1) the amount of the debt;

         (2) the name of the creditor to whom the debt is owed;

         (3) a statement that unless the consumer, within thirty days after receipt of the notice,

   disputes the validity of the debt, or any portion thereof, the debt will be assumed to be

   valid by the debt collector;

         (4) a statement that if the consumer notifies the debt collector in writing within the

   thirty-day period that the debt, or any portion thereof, is disputed, the debt collector will

   obtain verification of the debt or a copy of the judgment against the consumer and a copy

   of such verification or judgment will be mailed to the consumer by the debt collector; and
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            (5) a statement that, upon the consumer's written request within the thirty-day period,

      the debt collector will provide the consumer with the name and address of the original

      creditor, if different from the current creditor. 15 U.S.C. § 1692g(a).

This is known as the “G Notice.”

      31.        While the February 3, 2017 letter contains the requisite “G-Notice,” it is

   completely overshadowed by the earlier offers of settlement in the letter.

      32.        Specifically, the letter only gives Plaintiff three (3) days to make a payment to

   receive the settlement offer which overshadows the fact that Plaintiff has thirty (30) days to

   dispute and receive validation of the debt pursuant to the “G Notice.”

      33.        Furthermore it threatens that if not paid within 3 days the balance will be

   increasing.

      34.        Although a collection letter may track the statutory language, “the collector

   nonetheless violates the Act if it conveys that information in a confusing or contradictory

   fashion so as to cloud the required message with uncertainty.” Russel v. EQUIFAX A.R.S., 74

   F.3d 30, 35 (2d Cir. 1996).

      35.        Requiring payment to accept a settlement plan in the same letter with the “G

   Notice” is confusing because the least sophisticated consumer would believe she only had 3

   days to pay in order to receive the discounted settlement, which overshadows her right to

   validate or dispute the debt under the Fair Debt Collection Practices Act.

      36.        Plaintiff sustained an imminent risk of harm in that she was threatened to pay

   within 3 days or suffer higher costs, which prevented her from properly asserting her rights

   during the 30 day validation time period.
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     37.     As a result of Defendant’s deceptive misleading and false debt collection practices,

  Plaintiff has been damaged.

                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     38.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     39.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

     40.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

     41.     Defendant violated said section by:

             a. Making a false and misleading representation in violation of § 1692e(2),

                 1692e(5), and 1692e(10).

     42.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

  conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages,

  costs and attorneys’ fees.


                                 COUNT II
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                                §1692f et seq.

     43.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     44.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.
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   45.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

unconscionable means in connection with the collection of any debt.

   46.     Defendant violated this section by unfairly offering a settlement plan to Plaintiff

which was available for only three (3) days during the thirty day validation and dispute period

under the FDCPA, while threating the balance to increase after the 3 day offer expired.

   47.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages,

costs and attorneys’ fees.


                               COUNT III
     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                              §1692g et seq.

   48.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

   49.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

   50.     Pursuant to 15 U.S.C. §1692g, any collection activities and communication during

the 30-day period may not overshadow or be inconsistent with the disclosure of the

consumer’s right to dispute the debt or request the name and address of the original creditor.

   51.     Defendant violated this section by unfairly offering a settlement plan to Plaintiff

which was available for only three (3) days during the thirty day validation and dispute period

provided by the FDCPA, while threating the balance to increase after the 3 day offer expired.

   52.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages,

costs and attorneys’ fees.
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                                 DEMAND FOR TRIAL BY JURY


    53.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

requests a trial by jury on all issues so triable.


                                     PRAYER FOR RELIEF

    WHEREFORE, Plaintiff Carla Garrett, individually and on behalf of all others similarly

situated demands judgment from Defendant Monterey Financial Services as follows:


    1.      Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class representative, and Aryeh E. Stein as Class Counsel;

    2.      Awarding Plaintiff and the Class statutory damages;

    3.      Awarding Plaintiff and the Class actual damages;

    4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

expenses;

    5.      Awarding pre-judgment interest and post-judgment interest; and

    6.      Awarding Plaintiff and the Class such other and further relief as this Court may

deem just and proper.


    Dated: February 1, 2018                             MERIDIAN LAW, LLC

                                                        /s/ Aryeh E. Stein
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